Case 1:25-cv-00457-MN            Document 11      Filed 04/22/25       Page 1 of 15 PageID #: 359




                             UNITED STATES DISTRICT COURT
                                DISTRICT OF DELAWARE


  TRILLIANT SURGICAL, LLC, a Texas
  limited liability company,

                                   Plaintiff,

                            v.                            Civil Action No. 1:25-cv-00457-MN

  NICHOLAS RICCIONE,                                      REDACTED PUBLIC VERSION
                                                          Original Filing Date: April 21, 2025
                                   Defendant.             Redacted Filing Date: April 28, 2025


                                 FIRST AMENDED COMPLAINT

         Plaintiff Trilliant Surgical, LLC (“Trilliant”), by and through its undersigned counsel,

 hereby files this First Amended Complaint against Defendant Nicholas Riccione (“Riccione

 Sr.” or “Defendant”), and alleges as follows:

                                   NATURE OF THE ACTION

         1.      This case arises out of Trilliant’s multi-million-dollar acquisition of the assets

 of D.N.E., LLC (“DNE”), a company that made and sold medical products. As a condition of

 sale, DNE and its principal, Riccione Sr., agreed not to promote or sell any products that are

 competitive to Trilliant’s products for five years. Riccione Sr. also agreed to provide Trilliant

 consulting services and to assign to Trilliant all of his rights, title, and interests in the results

 and proceeds of services within the scope of the consulting engagement. Unfortunately,

 Riccione Sr., acting in concert with his son and former DNE employee, Nicholas Riccione Jr.

 (“Nico”), willfully breached his obligations.

         2.      In particular, Riccione Sr. and Nico, now acting through a new company,

 Pennsylvania-based Medusa Orthopedics, LLC (“Medusa”), are in the process of developing

 and commercializing products that are intended to directly compete with, and are virtually

 identical to, those Riccione Sr. formerly developed and sold through DNE. This unlawful
Case 1:25-cv-00457-MN         Document 11        Filed 04/22/25      Page 2 of 15 PageID #: 360




 conduct has deprived Trilliant of the benefit of its bargain and, absent Court intervention, will

 cause it irreparable, ongoing harm.

        3.      Trilliant seeks preliminary and permanent injunctive relief, monetary damages,

 interest, costs, and other relief as the Court deems just and proper.

                                            PARTIES

        4.      Trilliant, which currently does business as Enovis Foot & Ankle, is a Texas

 limited liability company with its principal place of business in Texas. Trilliant’s sole member

 is Encore Medical, L.P, a Delaware limited partnership. Encore Medical, L.P.’s general partner

 is Encore Medical GP, LLC and its limited partner is Encore Medical Partners, LLC.

        •       Encore Medical, GP LLC, is a Nevada limited liability company and its sole

                member is DJO, LLC.

        •       Encore Medical Partners, LLC, is a Nevada limited liability company and its

                sole member is DJO, LLC.

                o       DJO, LLC, is a Delaware limited liability company and its sole member

                        is DJO Finance LLC.

                               DJO Finance LLC, is a Delaware limited liability company, and

                                its sole member is DJO Global Inc.

                                •       DJO Global Inc., is a Delaware corporation with its

                                        principal place of business in Texas.

        None of the foregoing entities or their members are domiciled in, are citizens of, or

 have their principal places of business in Florida.

        5.      Riccione Sr. is an individual who is domiciled and resides in Boca Raton,

 Florida. Riccione Sr. was the sole member and manager of DNE.




                                                 2
Case 1:25-cv-00457-MN         Document 11         Filed 04/22/25      Page 3 of 15 PageID #: 361




                                JURISDICTION AND VENUE

         6.      This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332(a)

 because (i) there is complete diversity between Trilliant and its members on the one hand, and

 Defendant, on the other hand, and (ii) the amount in controversy exceeds $75,000, exclusive

 of interest and costs.

         7.      The Court is a proper venue and has personal jurisdiction over Riccione Sr.

 because he executed that certain APA (as hereinafter defined) under which he “irrevocably

 submit[ted] to the exclusive jurisdiction of any federal or state court located within the State of

 Delaware over any dispute arising out of or relating to this Agreement [and] irrevocably

 waive[d], to the fullest extent permitted by applicable Law, any objection that they may now

 or hereafter have to the laying of venue … in such court….” Ex. A, APA, § 9.7.

                                  FACTUAL ALLEGATIONS

         8.      Prior to April 27, 2023, Riccione Sr. owned DNE, which designed,

 manufactured, sold, and distributed static external fixation frames for treatment of the foot and

 ankle, specifically including the “Charcot” circular frame, speed frame, W.O.L.F. frame, pin

 to bar frame, and mini rails (the “Products”).

         9.      During the same time period, Nico worked at DNE as a clinical specialist and

 was directly involved in attending surgeries and otherwise promoting DNE’s products.

         10.     A typical example of a DNE product is depicted below:




                                                  3
Case 1:25-cv-00457-MN         Document 11          Filed 04/22/25   Page 4 of 15 PageID #: 362




                            Fig. 1, Exemplar of DNE circular frame.

        11.     DNE advertised that its circular frame product, pictured above, was superior to

 the competition because it employed angular correction clamps that allowed a surgeon to

 angulate, rotate, compress, and distract in any direction, meaning that a single angular

 correction clamp could take the place of four different size struts in a competing product.

                                    Trilliant Acquires DNE

        12.     Some time prior to April 27, 2023, Trilliant, on the one hand, and DNE and its

 principal, Riccione Sr., on the other hand, discussed the possibility of Trilliant acquiring DNE.

        13.     Trilliant was interested in potentially acquiring DNE to expand its business in

 the external fixation space and because it saw value in DNE’s Products, which were

 distinguishable from other products on the market.

        14.     On April 27, 2023, Trilliant, DNE, and Riccione Sr. entered into that certain

 Asset Purchase Agreement (the “APA”), a true and correct copy of which is attached as Exhibit

 A, pursuant to which Trilliant acquired substantially all DNE’s assets for a

               , subject to certain adjustments.

        15.     Under the APA, Trilliant acquired enumerated “Purchased Assets,” which

 included, inter alia, DNE’s entire inventory of Products; the molds, tooling, supplies, and other

 physical items used in or in connection with manufacturing the Products; DNE’s intellectual


                                                   4
Case 1:25-cv-00457-MN           Document 11        Filed 04/22/25       Page 5 of 15 PageID #: 363




  property; all goodwill of the Company of every kind and description to the extent pertaining to

  the Products; and the exclusive right to represent itself as using the Products in succession to

  DNE. Ex. A, APA, § 1.1 (a)-(h).

           16.    Critically, the APA sets forth a covenant not to compete (the “Covenant Not to

  Compete”) which states, in relevant part:

           Beginning on the Closing Date and continuing until the fifth anniversary of the
           Closing Date (the “Covenant Period”), neither [Riccione Sr.] nor the [DNE] …
           will, and each … will cause its Affiliates not to, directly or indirectly, anywhere
           in the world (the “Territory”), (i) operate, control, or permit its name to be used
           in connection with, or otherwise engage in any business or activity that
           develops, manufactures, or markets product that are competitive to the Products
           (“Competing Products”), or (ii) invest in, own, manage, operate, finance,
           advise, render services to, consult with, permit its name to be used by, or
           guarantee the debts or obligations of any person engaged in or, to the
           Knowledge of the Company, planning to become engaged in any business or
           activity that develops, manufactures, or markets Competing Products….

  Ex. A, APA, § 7.1(a).

           17.    “Affiliate” is defined, with respect to Riccione Sr., to include any Person “that

 directly, or indirectly through one or more intermediaries, controls, is controlled by, or is under

 common control with” Riccione Sr. Ex. A, APA, Annex A (Definitions).

           18.    Riccione Sr. expressly acknowledged and agreed that his Covenant Not to

 Compete was a material condition to Trilliant’s execution and delivery of the APA and that

 Trilliant would not have entered into the APA in the absence of such covenant. Ex. A, APA, §

 7.1(g).

           19.    Riccione Sr. also acknowledged and agreed that if he violated his Covenant Not

 to Compete, it would be difficult to determine the entire cost, damage, or injury that Trilliant

 would sustain; that Trilliant would not have an adequate remedy at law; and that Trilliant would

 have the right to obtain injunctive relief without foreclosing or in any way limiting Trilliant’s

 right to obtain a money judgment against DNE, Riccione Sr., or their Affiliates. Ex. A, APA, §

 7.1(e).




                                                   5
Case 1:25-cv-00457-MN          Document 11       Filed 04/22/25       Page 6 of 15 PageID #: 364




         20.     Riccione Sr. agreed to indemnify Trilliant for all Losses, including reasonable

 attorneys’ fees, arising out of their breach of the APA, as provided in Article VI thereof. Ex. A,

 APA, Art. VI.

         21.     Riccione Sr. also expressly represented and warranted that neither DNE nor any

 “Related Party” (including Nico and Riccione Sr. himself) “has or has had, either directly or

 indirectly, an interest in any [entity] that … is a competitor or is reasonably expected to become

 a competitor of [DNE].” Ex. A, APA, § 2.18.

         22.     In addition to his Covenant Not to Compete, Riccione Sr. also covenanted and

 agreed to strictly maintain the confidentiality of, among other things, “any and all information,

 whether written or oral, concerning the Purchased Assets or the Products” and not to use any

 such information in a manner that would conflict with their obligations under the covenant not

 to compete. Ex. A, APA, § 7.2.

         23.     As required by the APA, and to further its purposes, Trilliant and Riccione Sr.

 entered into a Consulting Agreement dated July, 2023 (the “Consulting Agreement”), a true and

 correct copy of which is attached as Exhibit B, pursuant to which Trilliant engaged Riccione Sr.

 to advise the Company and provide commercial and clinical support on an as needed basis,

 including by assisting Trilliant with Product training and transitioning Product expertise to its

 employees and affiliates. Ex. B, Consulting Agreement, § 2.

         24.     Pursuant to the Consulting Agreement, Riccione Sr. agreed that Trilliant would

 be the owner of any intellectual property developed by Riccione Sr. within the scope of his

 engagement:

         [Trilliant] is and shall be, the sole and exclusive owner of all right, title and
         interest throughout the world in and to all the results and proceeds of the
         services performed under [the Consulting Agreement] (collectively, the
         “Deliverables”), including all patents, copyrights, trademarks, trade secrets and
         other intellectual property rights (“Intellectual Property Rights”) therein.
         [Riccione Sr.] agrees that the Deliverables are hereby deemed a “work made for
         hire” as defined in 17 U.S.C. § 101 for [Trilliant]. If, for any reason, any of the
         Deliverables do not constitute a “work made for hire,” [Riccione Sr.] hereby


                                                 6
Case 1:25-cv-00457-MN          Document 11        Filed 04/22/25       Page 7 of 15 PageID #: 365




          irrevocably assigns to [Trilliant], in each case without consideration, all rights,
          title and interest throughout the world in and to the Deliverables, including all
          Intellectual Property Rights therein….

  Ex. B, Consulting Agreement, § 10(b).

          25.    The Consulting Agreement, like the APA, required Riccione Sr. to maintain the

 confidentiality of all proprietary and confidential information of Trilliant. Ex. B, Consulting

 Agreement, § 10(a).

          26.    The Consulting Agreement contains a mandatory prevailing party fee-shifting

 provision applicable to any action or proceeding to enforce rights under such agreement. Ex. B,

 Consulting Agreement, § 12.

          27.    Since acquiring DNE, Trilliant has continued to market and sell the Products

 throughout the United States and internationally. A typical example of a circular frame product

 currently sold by Trilliant is depicted below:




                            Fig. 2, Exemplar of Trilliant circular frame.

                    Riccione Sr. and Nico Conspire to Violate the Agreements

          28.    Notwithstanding the foregoing, Nico and Riccione Sr. have conspired to violate

 the aforementioned agreements by planning and actively participating in competition with

 Trilliant.

          29.    An employee of Trilliant observed Riccione Sr. and Nico at an American

 College of Foot and Ankle Surgeons (ACFAS) conference in Phoenix, Arizona, between March



                                                  7
Case 1:25-cv-00457-MN       Document 11       Filed 04/22/25       Page 8 of 15 PageID #: 366




 27 and March 29, 2025, where they exhibited external fixation products bearing the “Medusa”

 name (the “Medusa Products”). One example is depicted in the photograph below:




                            Fig. 3, Medusa circular frame product.

         30.    At the same conference, Riccione Sr. and Nico also provided literature

 attributing the product to “Medusa Orthopedics.” The product literature is depicted in the

 photograph below:




                              Fig. 4, Medusa product literature.




                                              8
Case 1:25-cv-00457-MN           Document 11       Filed 04/22/25       Page 9 of 15 PageID #: 367




             31.   The Medusa Products are essentially identical to the DNE/Trilliant counterparts

 and are intended for the same medical and surgical applications. As such, the Medusa Products

 directly compete with the Products sold by DNE.

             32.   “Nicholas V. Riccione” formed Medusa on November 2, 2023, by filing a

 certificate of organization with the Department of State Bureau of Corporations and Charitable

 Organizations of the Commonwealth of Pennsylvania (the “Certificate of Organization”). A true

 and correct copy of the Certificate of Organization is attached as Exhibit C.

             33.   The co-founder/member is identified as Jose C. Gonzalez, with a Florida

 address (Nico resides in Pennsylvania; Riccione Sr. resides in Florida).

             34.   Armed with this information, Trilliant caused an evidence preservation letter to

 be served on Riccione Sr. and Nico. Riccione Sr. responded by a telephone call to Trilliant’s

 counsel and left a voicemail message in which he stated that his son Nico, not Riccione Sr., is

 “Nicholas V. Riccione” and owns Medusa. In the same message Riccione Sr. volunteered that

 he (the father) owned Stinger.

             35.   Trilliant has seen other evidence suggesting that Riccione Sr. is “Nicholas V.

 Riccione.” Regardless, Trilliant believes that Riccione Sr. is the true owner of Medusa and to

 the extent that an effort was made to create the appearance that Nico is the owner and operator

 of that business, that effort is a sham intended to obfuscate that Riccione Sr. is the true party in

 interest.

             36.   Other evidence establishes that Riccione Sr. and his son, Nico, are closely

 working together to commercialize products in the orthopedic fixation space.

             37.   For example, Riccione Sr. and Nico are both associated with another company,

 Stinger Orthopedics, LLC, a Florida limited liability company (“Stinger”), which is engaged in

 advertising a wireless hexapod system for treatment of orthopedic deformities.




                                                  9
Case 1:25-cv-00457-MN       Document 11        Filed 04/22/25      Page 10 of 15 PageID #: 368




         38.    According to the records of the Florida Secretary of State, Riccione Sr. formed

 Stinger on January 20, 2023, approximately three months prior to his execution of the APA.

         39.    As of the date of the filing of this First Amended Complaint, there was a public

 website available, https://www.stingerortho.com/, which purports to be a home page for

 “Stinger Orthopedics, LLC.” The website advertises Stinger’s “cutting-edge systems that blend

 technology and innovation to transform surgical outcomes…” and “innovative hardware

 design,” including a “wireless automated strut program.”

         40.    As of the date of the filing of this First Amended Complaint, there is a LinkedIn

 page that purports to be the account of Stinger Orthopedics. The LinkedIn page contains a

 posting dated approximately April 11, 2025, which describes and depicts the WASP system:




                          Fig. 3, Stinger Orthopedic LinkedIn Posting

         41.    As of the date of the filing of this Complaint, there is a LinkedIn page that

 purports to reflect the account of “Nico Riccione” which includes a picture that has been

 confirmed to be a picture of Nico. https://www.linkedin.com/in/nico-riccione-ba7567141/.




                                               10
Case 1:25-cv-00457-MN         Document 11        Filed 04/22/25      Page 11 of 15 PageID #: 369




          42.     Nico’s LinkedIn page identifies his occupation as “Clinical Specialist at Stinger

 Orthopedics, LLC” (the same job title he had at DNE) and includes a post clarifying that the

 WASP product is designed as an upgrade to manual frame products (i.e., the Products formerly

 sold by DNE, now Trilliant).

          43.     In approximately November of 2024, Nico’s LinkedIn page contained a posting

 that said, “Up and coming machine shops, we’re looking for you! Contact me today at

 nico@stingerortho.com. Cannot wait for insane lead times. We don’t work slowly and we need

 shops that can turn around product quickly and efficiently.”

          44.     The aforementioned websites, the recent posts by Nico, and their joint

 appearance at the ACFAS conference demonstrate that Riccione Sr. and Nico are working

 together to market products, including the Medusa Products that improperly compete with those

 sold by Trilliant.

          45.     By organizing Medusa through his son/employee, Nico, Riccione Sr. plainly

 sought to hide his involvement in Medusa’s marketing of products that are patently competing

 and nearly identical to the Products sold by Trilliant.

          46.     Medusa was formed just seven months after he signed the APA and during the

 term of the Consulting Agreement, demonstrating Riccione Sr.’s clear intention of violating the

 Covenant Not to Compete and the Consulting Agreement, which Riccione Sr. is now doing.

          47.     The Medusa Products are essentially identical to the DNE/Trilliant counterparts

 and are intended for the same medical and surgical applications. As such, the Medusa Products

 directly compete with the Products sold by DNE.

          48.     The Medusa Products appear to have minor design and aesthetic modifications.

 To the extent the Medusa Products reflect Riccione Sr.’s development of patents, copyrights,

 trademarks, trade secrets or other intellectual property rights during the term and within the

 scope of the Consulting Agreement, such rights and any proceeds thereof belong to Trilliant.



                                                 11
Case 1:25-cv-00457-MN           Document 11        Filed 04/22/25       Page 12 of 15 PageID #: 370




                Trilliant Has Suffered, and Continues to Suffer, Irreparable Harm

          49.       Trilliant has a legitimate and protectible interest in enforcing the Covenant Not

 to Compete and Consulting Agreement including (i) its interest in preserving the benefit of its

 bargain to acquire DNE, its intellectual property and goodwill, and the right to exclusively

 distribute the Products; and (ii) its interest in protecting its trade secrets and other confidential

 and proprietary information pertaining to the Products, customers, pricing, and manufacturing

 of the Products.

          50.       By virtue of Riccione Sr.’s past ownership of DNE, his personal role in

 developing the Products, and his consulting arrangement with Trilliant, his breaches of the

 Covenant Not to Compete and Consulting Agreements have caused irreparable harm and

 continue to pose the risk of further irreparable harm, to Trilliant.

          51.       Due to the nature of harm, Trilliant’s damages cannot be calculated with

 precision. However: (i) Trilliant would not have purchased DNE for approximately

 but for Riccione Sr.’s agreement to abide by the restrictive covenants in the APA, including the

 Covenant Not to Compete; (ii) if Riccione Sr. and Medusa continue to commercialize the

 competing and nearly identical Medusa Products, it will cause Trilliant to lose its competitive

 position and result in a substantial loss of revenue to Trilliant, well in excess of the $75,000

 jurisdictional limit.

                                           CLAIMS FOR RELIEF

                Count I: Breach of Contract Against Riccione – Covenant Not to Compete

          52.       Plaintiff repeats and realleges each and every allegation in the numbered

 paragraphs set forth above.

          53.       The APA is a valid and enforceable contract among Trilliant, Riccione Sr., and

 DNE.




                                                   12
Case 1:25-cv-00457-MN          Document 11        Filed 04/22/25      Page 13 of 15 PageID #: 371




         54.      Trilliant performed all its obligations and conditions precedent, if any, under the

 APA.

         55.      Riccione Sr. is in present, material breach of the APA and, more particularly,

 the Covenant Not to Compete by developing, promoting, and marketing the Medusa Products,

 which directly compete with the Products.

         56.      As a direct, proximate, and foreseeable result of Riccione Sr.’s material breach

 of the APA, Trilliant has suffered, and will continue to suffer, damages and other irreparable

 harm.

         57.      As Riccione Sr. expressly acknowledged, while Trilliant is entitled to recover

 its monetary damages, attorneys’ fees, costs, and other Losses, money damages are an

 inadequate remedy for a breach of the Covenant Not to Compete.

         58.      If not preliminarily and permanently enjoined, Riccione Sr. will continue to

 violate his obligations to Trilliant and will continue to cause damage to Trilliant’s business and

 goodwill.

               Count II: Breach of Contract Against Riccione Sr. – Consulting Agreement

         59.      Plaintiff repeats and realleges each and every allegation in the numbered

 paragraphs set forth above.

         60.      The Consulting Agreement is a valid and enforceable contract between Trilliant

 and Riccione Sr.

         61.      Trilliant performed all of its obligations and conditions precedent, if any, under

 the Consulting Agreement.

         62.      Riccione Sr. is in present, material breach of the Consulting Agreement by

 developing and using intellectual property derived from the Products and within the scope of

 the Consulting Agreement for his own purposes, to compete with Trilliant, which intellectual

 property and the proceeds thereof rightly belong to Trilliant.



                                                  13
Case 1:25-cv-00457-MN          Document 11        Filed 04/22/25      Page 14 of 15 PageID #: 372




          63.    As a direct, proximate, and foreseeable result of Riccione Sr.’s material breach

 of the Consulting Agreement, Trilliant has suffered, and will continue to suffer, damages and

 other irreparable harm.

          64.    As a consequence of Riccione Sr.’s breach, Trilliant is entitled to recover

 damages, an order directing Riccione Sr. to hold such intellectual property and the proceeds

 thereof in constructive trust, and to convey and deliver the same to Trilliant, injunctive relief,

 and an award of attorneys’ fees.

                       Count III: Breach of Fiduciary Duty Against Riccione Sr.

          65.     Plaintiff repeats and realleges each and every allegation in the numbered

 paragraphs set forth above.

          66.    By virtue of his role under the Consulting Agreement, Riccione Sr. had access

 to and acquired confidential and proprietary knowledge and information regarding Trilliant and

 the Products and, as such, owes a fiduciary duty to Trilliant not to use such information in

 competition with Trilliant.

          67.    Riccione Sr. also owed a duty to use his best efforts in fulfillment of his duties

 under the Consulting Agreement, and not to use intellectual property derived during the term of

 the agreement, which properly belonged to Trilliant, for his own purposes or to compete with

 Trilliant.

          68.    Riccione Sr. breached these duties by (i) using or attempting to use Trilliant’s

 confidential and proprietary information for his own purposes and to compete with Trilliant;

 and (ii) by using intellectual property derived during the term of the Consulting Agreement,

 which properly belonged to Trilliant, for his own purposes or to compete with Trilliant.

          69.    As a direct, proximate, and foreseeable result of Riccione Sr.’s material breach

 of his fiduciaries duties to Trilliant, Trilliant has suffered, and will continue to suffer, damages

 and other irreparable harm.



                                                  14
Case 1:25-cv-00457-MN        Document 11        Filed 04/22/25       Page 15 of 15 PageID #: 373




         70.     In breaching his fiduciary duties, Riccione Sr. acted willfully, wantonly,

 intentionally, and with malice.

                                    PRAYER FOR RELIEF

        WHEREFORE, Plaintiff respectfully requests that this Court enter judgment in its favor

 and against Riccione Sr. as follows:

         A.      Awarding Plaintiff its monetary damages in an amount to be determined at trial;

         B.      Awarding Plaintiff pre-judgment and post-judgment interest;

         C.      Awarding Plaintiff its costs and expenses incurred in this action, including
                 reasonable attorneys’ fees;

         D.      Enjoining Riccione Sr., preliminarily and permanently, from engaging in further
                 breaches of the APA and Consulting Agreement;

         E.      Ordering Riccione Sr. to hold all intellectual property derived by Riccione Sr.
                 during the term of the Consulting Agreement in constructive trust, and that the
                 same be disgorged to Trilliant, forthwith;

         F.      Punitive damages; and

         G.      Granting such other and further relief as the Court deems just and proper.


  Dated: April 21, 2025                         MORRIS, NICHOLS, ARSHT & TUNNELL
                                                LLP

  OF COUNSEL:
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                                                15
